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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

THE UNITED STATES OF AMERICA,
Plaintiff/Counterclaim Defendant,

Vv.

)
)
)
)
)
)
GILEAD SCIENCES, INC., ) C.A. No. 19-2103 (MN)
)

Defendant/Counterclaim Plaintiff, )

)

and GILEAD SCIENCES IRELAND UC, )

)

)

Defendant.

VERDICT FORM

Instructions: In answering the following questions and completing this Verdict Form,
please follow the directions provided throughout the form and all of the instructions I have given
you in the Court’s charge. Your answer to each question must be unanimous. Please refer to the
Jury Instructions for guidance on the law applicable to each question.

As used herein:

l. The “’333 patent” refers to U.S. Patent No. 9,579,333.

2 The “’191 patent” refers to U.S. Patent No. 9,937,191.

3. The “’423 patent” refers to U.S. Patent No. 10,335,423.

These three patents are together sometimes referred to as the “Asserted Patents.”

The “United States” refers to Plaintiff and Counterclaim-Defendant The United States of
America. “Gilead” refers to Defendant and Counterclaim-Plaintiff Gilead Sciences, Inc. and
Defendant Gilead Sciences Ireland UC collectively. “GSI” refers only to Gilead Sciences, Inc.

“GSIUC” refers only to Gilead Sciences Ireland UC.
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INFRINGEMENT
Truvada® for PrEP

Li Has the United States proven by a preponderance of the evidence that one or more
patients or physicians (either separately or jointly) directly infringed any of the
following claims by using Truvada® for PrEP?

Yes (finding for No (finding for Gilead)
The United States) SL

°191 patent, claim 18 es

°423 patent, claim 18 oll

a

°333 patent, claim 13

 

 

Ifyou answered “NO” for all claims in Question 1, do not answer Question 2 or Question 3, and
proceed to Question 4. If you answered “YES” for any claim, answer Questions 2 and 3 for that
claim or those claims.

2. For any claim to which you responded “YES” in Question 1, has the United States
proven by a preponderance of the evidence that GS/ induced infringement of that
claim with respect to Truvada® for PrEP?

Yes (finding for The No (finding for GSI)
United States)

°333 patent, claim 13

 

°191 patent, claim 18

 

°423 patent, claim 18

 

3. For any claim to which you responded “YES” in Question 1, has the United States
proven by a preponderance of the evidence that GSJUC induced infringement of that
claim with respect to Truvada® for PrEP?

Yes (finding forThe No (finding for GSIUC)
United States)

*333 patent, claim 13

 

°191 patent, claim 18

 

’423 patent, claim 18

 
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PROCEED TO QUESTION 4
Descovy® for PrEP

4. Has the United States proven by a preponderance of the evidence that one or more
patients or physicians (either separately or jointly) directly infringed the following
claim by using Descovy® for PrEP?

Yes (finding forThe No (finding for Gilead)

United States) SL

°423 patent, claim 18

 

If you answered “NO” in Question 4, do not answer Question 5 or Question 6, and proceed to
Question 7. If you answered “YES” in Question 4, answer Questions 5 and 6.

a Has the United States proven by a preponderance of the evidence that GSJ induced
infringement of claim 18 of the ’423 patent with respect to Truvada® for PrEP?

Yes (finding for The No (finding for GSI)
United States)

423 patent, claim 18

6. Has the United States proven by a preponderance of the evidence that GSJUC

induced infringement of claim 18 of the ’423 patent with respect to Descovy® for
PrEP?

Yes (finding for The No (finding for
United States) GSIUC)

423 patent, claim 18

PROCEED TO QUESTION 7.
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INVALIDITY

Te Has Gilead proven by clear and convincing evidence that any of the following claims
is invalid because it is anticipated?

Yes (finding for Gilead) No (finding for The

United States)
°333 patent, claim 13 é.

°191 patent, claim 18 ? .
°423 patent, claim 18 x

8. Has Gilead proven by clear and convincing evidence that any of the following claims
is invalid because it would have been obvious?

Yes (finding for Gilead) No (finding for The
United States)
°333 patent, claim 13 x
°191 patent, claim 18 K
°423 patent, claim 18 6
9. Has Gilead proven by clear and convincing evidence that any of the following

claims is invalid because it is not enabled?

Yes (finding for Gilead) No (finding for The

x United States)

°423 patent, claim 18

If you answered “Yes” to Question Nos. 2, 3, 5 or 6 (induced patent infringement) for any claim or
claims and “No” to Questions Nos. 7, 8 and 9 (invalidity) for that claim or those claims, you must
answer Question No. 10. Otherwise, skip to the end of the Verdict Form.
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DAMAGES

10. What amount of damages has the United States proven by a preponderance of the
evidence it is entitled to recover?

 

PROCEED TO NEXT PAGE.
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UNANIMOUS VERDICT

 

Upon reaching a unanimous verdict on each question above, each juror must sign below,
and the foreperson should add the date.
We, the jury, unanimously agree to the answers to the above questions and return them under

the instructions of this Court as our verdict in this case.

Foreperson

Juror

Juror

Juror

Juror

Juror

 
